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                                                                                ELECTRONICALLY FILED
                       IN THE UNITED STATES DISTRICT COURT                      DOC #: ___________________
                          FOR THE DISTRICT OF NEW JERSEY                                    September 23, 2020
                                                                                DATE FILED: _______________



IN RE: COURT OPERATIONS UNDER THE                    :
EXIGENT CIRCUMSTANCES CREATED                        :       SECOND EXTENSION OF
BY COVID-19                                          :       STANDING ORDER 2020-12



       WHEREAS, a National Emergency has been declared and the Governor of the State of
New Jersey has declared a State of Emergency and a Public Health Emergency in response to the
coronavirus (COVID-19) pandemic; and

        WHEREAS, the Centers for Disease Control and Prevention (CDC) and other public
health authorities have advised and continue to advise taking precautions to reduce the
possibility of exposure to COVID-19 and to slow the spread of the disease by, among other
things, limiting sustained group gatherings of people, maintaining six feet of physical distance
from others (“social distancing”), and limiting sustained indoor activities involving spoken
presentations; and

       WHEREAS, in response to government policy, CDC guidelines and public health
advancements, the United States District Court for the District of New Jersey (“Court”) has
adopted the District of New Jersey COVID-19 Recovery Guidelines (“Recovery Guidelines”),
providing for a four-phase approach to reconstituting operations, and is currently in Phase II,
with Phase III expected to cover the period of October 1, 2020 through January 4, 2021; and

        WHEREAS, Phases II and III of the Recovery Guidelines require the wearing of
masks or facial coverings, social distancing, limited elevator occupancy and the observance
of instructional signage; and

        WHEREAS, on September 17, 2020, this Court entered Standing Order 2020-14,
establishing a COVID-19 protocol for all entrants, including prospective jurors, to the
courthouses in this District; and

        WHEREAS, jury selection in this District frequently involves the necessity for large jury
venire pools, often consisting of individuals, in or caring for those in, the age categories
identified by the CDC as being particularly at risk, or who are otherwise at substantially
enhanced health risks for other recognized reasons, along with individuals required to travel
extensively; and
        WHEREAS, while governmental public health orders have from time to time been
relaxed to a degree, they nonetheless still direct that organizations and institutions take all
reasonable steps to secure the public health by complying with applicable recommendations of
the CDC and other governmental and health agencies including limitations on the population size
of gatherings, sustained indoor gatherings and requiring the use of face coverings, social
distancing and other protective measures; and
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        WHEREAS, the process of responding to jury summonses and serving on juries by those
employed in essential public functions, including in healthcare operations, those who are at
increased risk of COVID-19 due to age or other reason, and those who will face substantial
childcare challenges arising from the closure of schools or curtailment of in-person instruction
create a serious impact on the capacity of persons so employed or engaged and summoned to
serve, increasing substantially the likelihood of the need to summon ever-larger jury venire pools
for potential service and potentially diminishing the representative nature of the pool of
summoned jurors; and

        WHEREAS, surveys recently mailed to prospective jurors in this District elicited a low
response rate of 48% and those respondents indicated that even with the Court taking precautions
consistent with New Jersey and CDC guidelines, 72% would not be comfortable serving as
potential jurors and 75% would not feel safe to gather at the courthouse;

        WHEREAS, the resumption of any jury trials in this Court will in many cases involve
the extensive use of juror questionnaires and more complex voir dire processes, which will
increase substantially the period of time from the date of initial jury summons to jury selection,
along with significant limitations on the number of jury trials that can be conducted at the same
time in any one vicinage of the Court in order to meet the goals of public health protocols; and

       WHEREAS, governmental public health orders have in certain cases materially and
substantially impaired or wholly curtailed, and continue to impair, the ability of defense counsel
to engage in necessary case and field investigations and client consultations, particularly but not
exclusively as to detained defendants;

       WHEREAS, a substantial number of United States District Courts have continued to
pause the resumption of jury trials in light of the above factors, or are only now beginning to
conduct one or more limited “test” trials to gauge the efficacy of recommended health and safety
protocols, the outcomes of which will inform the sound judgment of this Court in these regards;
and

        WHEREAS, public health officials have advised the Court that with the resumption of
some in-person primary and secondary school and college and university attendance, the public
health situation in terms of community spread of the COVID-19 virus is uncertain in ways
applicable to this Court and its operations; and

        WHEREAS, the Court continues to monitor its operations to identify measures that
will help slow the spread of COVID-19 by minimizing contact between persons, while at
the same time, preserving its core mission of serving the public through the fair and impartial
administration of justice;

       NOW, THEREFORE, in order to further public health and safety, the health and safety
of Court personnel, counsel, litigants, other case participants, jurors, security personnel and the
general public, and in order to reduce the number of gatherings necessarily attendant to trial jury
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selection in all vicinages of this Court, and in order to minimize travel by participants in Court
proceedings (particularly travel by public conveyance), the Court finds it necessary to extend
the continuances and period of exclusion set forth in Extension of Standing Order 2020-12, due
to expire on September 30, 2020, and issues the following:

        1. The Court ORDERS that all civil and criminal jury selections and jury trials shall
be continued to January 4, 2021. The Court may issue further Orders or Extensions concerning
future general continuances of any matters as may be deemed necessary and appropriate. Jury
selections and trials impacted by this Extension may be reset by further Order of the assigned
judicial officer.

         2. Regarding criminal matters, the Court recognizes the trial, procedural and
substantive rights of criminal litigants and particularly, their right to a speedy and public trial
under the Sixth Amendment (and the particular application of that right in cases involving
defendants who are detained pending trial). However, the Court also recognizes the compelling
public health and safety issues outlined in this Second Extension of Standing Order 2020-12, and
therefore, pursuant to 18 U.S.C. §3161(h)(7)(A), finds that the ends of justice served by taking
such action materially outweigh the best interests of the public and the parties in a speedy trial.
Accordingly, the Court ORDERS that the time period of March 16, 2020 through January 4,
2021 shall be “excluded time” under the Speedy Trial Act. Having considered the factors
outlined in 18 U.S.C. § 3161(h)(7)(B), the Court finds specifically, that the failure to grant such
continuance would likely make a continuation of proceedings impossible, or result in a
miscarriage of justice. Such exclusion is necessary to assure that in cases going to trial, there is a
full, unhindered, continuously serving jury venire and seated jury in every case, which is central
to the sound administration of justice. Such exclusion of time is also necessary in cases not yet
set for trial in order to address the reasonably anticipated difficulties in defense counsel
communicating or visiting with clients (including those detained in locales and facilities under a
declared state of emergency), and the inherent delay in the scheduling of further trials as a
consequence of the exclusion period herein. The Court may by further Order or Extension
extend the period of exclusion as circumstances may warrant, and the assigned judicial officer
may, by Order, also do so in connection with any specific proceeding.

        3. As for criminal cases commenced by complaint, the Court ORDERS that the 30-day
period established by 18 U.S.C. § 3161(b), during which the United States must either obtain an
indictment or file an information, is continued to January 4, 2021. Again, recognizing the public
health and safety issues stated herein, the Court determines that the ends of justice served by
granting such a continuance outweigh the best interests of the public and the right of each
defendant to a speedy indictment and a speedy trial in a criminal case. Accordingly, the Court
also ORDERS that the time period of March 16, 2020 through January 4, 2021 shall be
“excluded time” in all criminal proceedings in this District under the Speedy Trial Act, including
those proceedings commenced by complaint. The Court further ORDERS that such continuance
shall also apply to any time limits established by the Interstate Agreement on Detainers, 18
U.S.C. app. 2, § 2 (art. III).

       4.   The Court ORDERS that the empanelment of new grand juries is no longer restricted
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and the selection of a new grand jury is anticipated in each of the three vicinages of this District
this fall. Sitting grand juries in each vicinage of the Court are authorized to continue to meet.

        5. The Court further ORDERS that except as modified herein, the provisions of
Standing Order 2020-12 and Extension of Standing Order 2020-12 remain in full force and
effect, until the Court orders otherwise.

       6. The Court ORDERS that additional Orders or Extensions addressing Court
Operations under the Exigent Circumstances Created by COVID-19 shall be entered as
warranted, and that this Second Extension of Standing Order 2020-12 will expire no later than
January 4, 2021.


DATED: September 23, 2020
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                                                              _ ____________________
                                                              __                   ______
                                                              Hon. Freda L. WWolfson
                                                                            Wo olfson
                                                              U.S. Chief District Judge
                                                              District of New Jersey
